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UNITED STATES DISTRICT COURT                                  4/18/2022
SOUTHERN DISTRICT OF NEW YORK


 RELEVENT SPORTS, LLC,

                  Plaintiff,
                                                No. 22-cv-2917
            -against-
                                                      ORDER
 CARMELO STILLITANO,

                  Defendant.



VICTOR MARRERO, U.S.D.J.:


     Having reviewed and considered the submissions of each

party on the application       of   the   Plaintiff,    Relevent

Sports, LLC (“Relevent”), for a Temporary Restraining Order

and Preliminary Injunction against the Defendant, Carmelo

Stillitano (“Stillitano”), (Dkt. Nos. 5-6), and having

heard oral argument on that motion on Monday, April 18,

2022, the Court is persuaded that, for the reasons stated

on the record, Stillitano’s Employee Covenants Agreement

with Relevent (the "Covenants Agreement") is enforceable

and the relief granted by the Court on April 8, 2022 (Dkt.

No. 8) remains in effect through May 7, 2022.

     Accordingly, the Court hereby ORDERS:

     Through May 7, 2022, Defendant and his agents and all
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other persons who are in active concert or participation with

Defendant are enjoined from violating any and all terms within

the Covenants Agreement, including by (a) engaging in any

business    (whether   as    an     employee,     consultant,        director,

officer, partner, member, investor or shareholder) that is a

Competitive Business (as defined in the Covenants Agreement);

or (b) directly or indirectly diminishing the relationships

between    the   Company    Group    (as   defined       in    the   Covenants

Agreement) and any of their investors, clients, customers,

sponsors, collaborators, participant soccer clubs or teams,

vendors    or    service    providers      or    seek,    to    divert   such

relationships for Defendant's personal benefit or to such

firm or other person or entity with whom Defendant may then

be employed or otherwise associated; and it is further

     ORDERED that the grant of expedited discovery in the

Court’s April 8, 2022 Order (Dkt. No. 8) is continued; and it

is further

     ORDERED that security in the amount of $25,000 be posted

by Relevent Sports, LLC no later than two (2) days after the

entry of this order.


SO ORDERED:

Dated: 18 April 2022
       New York, New York                       Victor Marrero, U.S.D.J.
